                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-595

                                        No. COA20-170

                                    Filed 2 November 2021

     Forsyth County, Nos. 17 CRS 003215, 058659-61

     STATE OF NORTH CAROLINA

                   v.

     JOSEPH DONALD ROYSTER, III, Defendant.


             Appeal by Defendant from judgment entered 30 October 2019 by Judge Casey

     Viser in Forsyth County Superior Court. Heard in the Court of Appeals 9 September

     2020.


             Attorney General Joshua H. Stein, by Associate Attorney General Robert J.
             Pickett, for the State.

             Vitrano Law Offices, PLLC, by Sean P. Vitrano, for defendant-appellant.


             MURPHY, Judge.


¶1           Before law enforcement officers may perform an investigatory stop on someone

     without a warrant, the United States Constitution and North Carolina Constitution

     require that they have reasonable articulable suspicion that criminal activity is afoot.

     Reasonable articulable suspicion can arise through an anonymous tip if the tip has

     sufficient indicia of reliability and suggests criminal activity is afoot. Reasonable

     articulable suspicion may also exist where the totality of the circumstances suggests
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     criminal activity is afoot.   Evidence that is illegally obtained as a result of an

     unconstitutional stop without reasonable articulable suspicion must be suppressed.

     Here, the totality of the circumstances indicated Defendant unlawfully possessed a

     weapon, providing law enforcement with reasonable articulable suspicion to stop

     Defendant. As a result, the stop was constitutional and the trial court did not err in

     denying Defendant’s motion to suppress.

                                       BACKGROUND

¶2         On 2 January 2018, a grand jury indicted Defendant Joseph Donald Royster

     III for possession of a firearm by a felon; trafficking opium or heroin by possession;

     trafficking cocaine by possession; manufacturing, selling, delivering, or possessing a

     controlled substance within 1,000 feet of a school; possession of a weapon on school

     property; possession with intent to sell or deliver cocaine; possession with intent to

     sell or deliver heroin; and attaining the status of habitual felon. On 29 May 2018,

     Defendant filed a Motion to Suppress Evidence, arguing law enforcement did not have

     reasonable articulable suspicion to stop Defendant and the trial court should

     suppress the evidence that was subsequently discovered as a result of the stop. A

     hearing on the motion to suppress was held on 7 December 2018, and the trial court

     denied the motion in its Order Denying Motion to Suppress (“Order”), filed on 9

     October 2019.    The Order included the following findings of facts, which are
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unchallenged on appeal1:

              1. On [2 January 2018], [Defendant] was indicted by a
              grand jury on charges of: possession of a weapon on school
              property, possession of cocaine with intent to sell and
              deliver, and possession of heroin with intent to sell and
              deliver.

              2. [] Defendant was arrested on [16 September 2017], after
              officers found him in possession of a firearm, heroin and
              cocaine on school property.

              3. Earlier that day, the Winston-Salem Police Department
              . . . received a detailed anonymous report . . . from a caller
              who stated that a black male named Joseph Royster, who
              goes by “Gooney,” had heroin and a gun in his vehicle,
              which the caller described as a black Chevrolet Impala
              with [a specified] license plate number [].

              4. The caller described the black male as wearing a white
              T-shirt and blue jeans, with gold teeth and a gold necklace.
              The caller also reported that the heroin and the gun were
              located in the armrest of the black Chevrolet Impala, which
              was parked near the premises of South Fork Elementary
              School . . . .

              5. Based on [the] anonymous report, several officers from
              the Department responded to the scene at South Fork
              Elementary, including: Sgt. Ryan Phillips, Officer C.I.
              Penn, Officer Harrison, and Officer Robertson.

              6. Sgt. Phillips is a patrol [s]upervisor with more than 13


       1 We note that Defendant explicitly concedes Findings of Fact 3-9 and 11-21 “were

supported by the evidence at the suppression hearing[.]” He does not address Findings of
Fact 1, 2, or 10, as he only made this statement regarding the “pertinent findings of fact[.]”
These unchallenged findings of fact are also binding on appeal. See State v. Warren, 242 N.C.
App. 496, 498, 775 S.E.2d 362, 364 (2015) (marks omitted) (“Unchallenged findings of fact
are deemed to be supported by competent evidence and are binding on appeal.”), aff'd per
curiam, 368 N.C. 756, 782 S.E.2d 509 (2016), cert. denied, 196 L. Ed. 2d 261 (2016).
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years of experience with the Department, including
S.W.A.T., who also previously served as a New York City
Police Officer. He has participated in 300-400 drug crime
investigations, and participated in 75-100 arrests.

7. As the supervising officer on duty, Sgt. Phillips
responded first to the call.

8. After receiving the anonymous report on [16 September
2017], and prior to arriving at South Fork Elementary, Sgt.
Phillips searched the Department’s database, the PISTOL
database, for information on [Defendant].

9. Through the PISTOL database, Sgt. Phillips found a
picture of [Defendant], which showed him as a black male
with gold teeth. The PISTOL database also showed that
[Defendant] had a history of drug charges, and a charge for
possession of a firearm by a felon.

10. South Fork Elementary is a school located in Forsyth
County, North Carolina.

11. When Sgt. Phillips arrived at South Fork Elementary,
he exited his vehicle on foot and located a black Chevrolet
Impala with the [specified] license plate number [], as
described in the anonymous report, backed into a parking
spot near the school. A youth football game was in progress
at the school.

12. The black Chevrolet Impala was not occupied at the
time, and Sgt. Phillips positioned himself approximately
40-50 yards from the black Chevrolet Impala to watch for
anyone who approached the vehicle.

13. Meanwhile, as Sgt. Phillips located the Impala, Officer
Penn and his supervising officer accompanying him in his
vehicle, Officer Robertson, met with Officer Harrison, who
was in a separate vehicle.

14. Officer Penn retrieved the same information through
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the PISTOL database that Sgt. Phillips retrieved, and also
verified [Defendant’s] identity through his picture in the
database.

15. Officers Penn and Robertson, and Officer Harrison,
positioned themselves across the street, waiting for
instructions from Sgt. Phillips.

16. As Sgt. Phillips watched the black Chevrolet Impala, a
black male wearing a white T-shirt and blue jeans with a
gold necklace and gold teeth -- matching the description in
the anonymous report -- approached the black Chevrolet
Impala and opened the door. Sgt. Phillips then radioed for
the other officers to join him on the scene as the black male
was getting into the black Chevrolet Impala.

17. Sgt. Phillips then approached the black Chevrolet
Impala, and as he did so the black male exited the vehicle.
While the black male was standing next to the black
Chevrolet Impala, Sgt. Phillips called out [Defendant’s]
name, whereupon the black male turned around and
looked at Sgt. Phillips. The black male then reached inside
the black Chevrolet Impala, turned the vehicle off, and
shut the door.

18. The black male then began walking away as Sgt.
Phillips walked toward him. With his back to Sgt. Phillips,
the black male reached for his waistband.

19. Sgt. Phillips warned the black male, “Don’t be reaching
for your waistband.”

20. Based on Sgt. Phillips’ training and experience, in
addition to the anonymous report that was received and
the other corroborated information obtained by Sgt.
Phillips regarding prior charges against [Defendant], Sgt.
Phillips suspected the potential presence of a firearm.

21. The black male, who Sgt. Phillips identified as
[Defendant], was anxious, upset, and “antsy.” Sgt. Phillips
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                 and Officer Harrison frisked [Defendant] for weapons for
                 the safety of the officers, and informed [Defendant] they
                 were detaining him for a narcotics investigation.

¶3         The Order included the following conclusions of law:

                 1. The [trial court] has jurisdiction over [] Defendant and
                 the subject matter[.]

                 2. Based on the totality of [the] circumstances, including
                 the detailed anonymous report and the information
                 contained therein that was corroborated by Sgt. Phillips
                 and the other officers, Sgt. Phillips’ training and
                 experience in investigating drug crimes, and [] Defendant’s
                 turning and walking away from the officers upon making
                 eye contact with Sgt. Phillips and then reaching for his
                 waistband, the officers had reasonable suspicion to conduct
                 an investigatory stop of Defendant.

                 3. As a result, Defendant’s Motion to Suppress based on
                 lack of reasonable suspicion for the stop should be denied.

¶4         Defendant pled guilty to all charges on 30 October 2019, reserved his right to

     appeal the denial of his motion to suppress, and subsequently gave notice of appeal

     in open court. The trial court sentenced Defendant to an active term of 76-104

     months.

                                        ANALYSIS

¶5         On appeal, Defendant contends the trial court erred by denying his motion to

     suppress as “[t]he officers could not lawfully conduct an investigatory stop of

     [Defendant] without a reasonable articulable suspicion of criminal activity.”

     Defendant contends this rendered the stop illegal and the evidence resulting from it
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     should have been suppressed under the fruit of the poisonous tree doctrine, requiring

     us to reverse the Order and vacate his convictions premised upon his guilty plea. As

     noted above, Defendant does not challenge any findings of fact in the Order and

     instead challenges only the conclusions of law reached by the trial court.

¶6         Review of a trial court’s denial of a motion to suppress is “strictly limited to

     determining whether the trial [court’s] underlying findings of fact are supported by

     competent evidence, in which event they are conclusively binding on appeal, and

     whether those factual findings in turn support the [trial court’s] ultimate conclusions

     of law.” State v. Cooke, 306 N.C. 132, 134, 291 S.E.2d 618, 619 (1982). “Unchallenged

     findings of fact are deemed to be supported by competent evidence and are binding

     on appeal. Conclusions of law are reviewed de novo and are subject to full review.”

     Warren, 242 N.C. App. at 498, 775 S.E.2d at 364 (marks omitted).

                           A. Reasonable Articulable Suspicion

¶7         The trial court based Conclusion of Law 2, that reasonable articulable

     suspicion existed for the stop, on

                  the totality of [the] circumstances, including the detailed
                  anonymous report and the information contained therein
                  that was corroborated by Sgt. Phillips and the other
                  officers, Sgt. Phillips’ training and experience in
                  investigating drug crimes, and [] Defendant’s turning and
                  walking away from the officers upon making eye contact
                  with Sgt. Phillips and then reaching for his waistband[.]

     Although not explicitly discussed in Conclusion of Law 2, the totality of the
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     circumstances here also includes Defendant’s PISTOL database records,2 which

     showed Defendant’s prior drug charges and a prior firearm charge.

¶8          The United States and North Carolina Constitutions protect persons from

     “unreasonable searches and seizures[.]” U.S. Const. amend. IV; N.C. Const. art. 1, §

     20.

                   Though the language in the North Carolina Constitution
                   (Article I, Sec. 20), providing in substance that any search
                   or seizure must be “supported by evidence,” is markedly
                   different from that in the federal constitution, there is no
                   variance between the search and seizure law of North
                   Carolina and the requirements of the Fourth Amendment
                   as interpreted by the Supreme Court of the United States.

     State v. Hendricks, 43 N.C. App. 245, 251-52, 258 S.E.2d 872, 877 (1979), disc. rev.

     denied, 299 N.C. 123, 262 S.E.2d 6 (1980).             “In analyzing what constitutes a

     reasonable seizure, the United States Supreme Court has consistently held that a

     police officer may effect a brief investigatory seizure of an individual where the officer

     has reasonable, articulable suspicion that a crime may be underway.” State v. Horton,

     264 N.C. App. 711, 715, 826 S.E.2d 770, 773 (2019) (emphasis added) (marks omitted).

     “Under the reasonable articulable suspicion standard, a stop must be based on

     specific and articulable facts, as well as the rational inferences from those facts, as




            2 At the motion to suppress hearing, testimony described the PISTOL database as a

     searchable police database that provides a person’s information, comprised of, in part, their
     fifteen most recent contacts with law enforcement, including charges.
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       viewed through the eyes of a reasonable, cautious officer, guided by his experience

       and training.” State v. Harwood, 221 N.C. App. 451, 458, 727 S.E.2d 891, 898 (2012)

       (marks omitted).     “For that reason, there must be a minimal level of objective

       justification, something more than an unparticularized suspicion or hunch to justify

       an investigative detention.”     Id. (marks and citations omitted).       “A court must

       consider ‘the totality of the circumstances—the whole picture’ in determining

       whether a reasonable suspicion to make an investigatory stop exists.”             State v.

       Watkins, 337 N.C. 437, 441, 446 S.E.2d 67, 70 (1994) (citing United States v. Cortez,

       449 U.S. 411, 417, 66 L. Ed. 2d 621, 629 (1981)).

       1. The Anonymous Call

¶9            Defendant argues the anonymous call did not demonstrate reliability and,

       instead, merely described identifying characteristics.           The State argues the

       anonymous call was sufficiently reliable since it was made by phone, identified a

       specific person with whom the anonymous caller had some demonstrated familiarity,

       and provided his real-time location.

¶ 10          “Where the justification for a warrantless stop is information provided by an

       anonymous informant, a reviewing court must assess whether the tip at issue

       possessed sufficient indicia of reliability to support the police intrusion on a detainee’s

       constitutional rights.” State v. Johnson, 204 N.C. App. 259, 263, 693 S.E.2d 711, 715
       (2010) (citing Illinois v. Gates, 462 U.S. 213, 76 L. Ed. 2d 527 (1983)).          “If the
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anonymous tip does not have sufficient indicia of reliability, then there must be

sufficient police corroboration of the tip before the stop may be made.” Harwood, 221

N.C. App. at 459, 727 S.E.2d at 898. “As a result, we must determine (1) whether the

anonymous tip provided to [the police], taken as a whole, possessed sufficient indicia

of reliability and, if not, (2) whether the anonymous tip could be made sufficiently

reliable by independent corroboration in order to uphold the challenged investigative

detention.” Id.; see also Horton, 264 N.C. App. at 717, 826 S.E.2d at 775 (quoting

State v. Hughes, 353 N.C. 200, 207, 539 S.E.2d 625, 630 (2000)) (“Indices of reliability

can come in two forms: (1) the tip itself provides enough detail and information to

establish reasonable suspicion, or (2) though the tip lacks independent reliability, it

is ‘buttressed by sufficient police corroboration.’”).

              The type of detail provided in the tip and corroborated by
              the officers is critical in determining whether the tip can
              supply the reasonable suspicion necessary for the stop.
              Where the detail contained in the tip merely concerns
              identifying characteristics, . . . confirmation of these details
              will not legitimize the tip.

Johnson, 204 N.C. App. at 264, 693 S.E.2d at 715. Additionally,

              an accurate description of a subject’s readily observable
              location and appearance is of course reliable in [a] limited
              sense: It will help the police correctly identify the person
              whom the tipster means to accuse. Such a tip, however,
              does not show that the tipster has knowledge of concealed
              criminal activity. The reasonable suspicion here at issue
              requires that a tip be reliable in its assertion of illegality,
              not just in its tendency to identify a determinate person.
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       Hughes, 353 N.C. at 209, 539 S.E.2d at 632 (quoting Florida v. J.L., 529 U.S. 266,

       272, 146 L. Ed. 2d 254, 261 (2000)). Based on this caselaw, we have found an

       anonymous tip was insufficient when the caller only “provided identifying

       information concerning a black male suspect wearing a white shirt in a blue

       Mitsubishi with a certain license plate number[]” who was selling drugs and guns at

       a precise location. Johnson, 204 N.C. App. at 264, 693 S.E.2d at 715-16.

¶ 11         The Order’s Findings of Fact 3 and 4 described the anonymous call as follows:

                    3. . . . [T]he Winston-Salem Police Department . . . received
                    a detailed anonymous report . . . from a caller who stated
                    that a black male named Joseph Royster, who goes by
                    “Gooney,” had heroin and a gun in his vehicle, which the
                    caller described as a black Chevrolet Impala with [a
                    specified] license plate number [].

                    4. The caller described the black male as wearing a white
                    T-shirt and blue jeans, with gold teeth and a gold necklace.
                    The caller also reported that the heroin and the gun were
                    located in the armrest of the black Chevrolet Impala, which
                    was parked near the premises of South Fork Elementary
                    School . . . .

¶ 12         The anonymous call here was “reliable in [a] limited sense” in providing details

       that identified Defendant and his car, which were confirmed by Sergeant Phillips.

       Hughes, 353 N.C. at 209, 539 S.E.2d at 632. “The record contains no information

       about who the caller was, no details about what the caller had seen, and no

       information even as to where the caller was located.” State v. Peele, 196 N.C. App.

       668, 673, 675 S.E.2d 682, 686, disc. rev. denied, 363 N.C. 587, 683 S.E.2d 383 (2009).
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       “[W]hile the tip at issue included identifying details of a person and car allegedly

       engaged in illegal activity, it offered few details of the alleged crime, no information

       regarding the informant’s basis of knowledge, and scant information to predict the

       future behavior of the alleged perpetrator.” Johnson, 204 N.C. App. at 263, 693

       S.E.2d at 714-15. As a result, by merely providing identifying information, “there

       was nothing inherent in the tip itself to allow [the trial] court to deem it reliable and

       to provide the officers with the reasonable suspicion necessary to effectuate a stop.”

       Id. at 264-65, 693 S.E.2d at 716. Even assuming all the identifying details of the

       anonymous call were corroborated, the call and corroboration alone did not provide

       the officers with reasonable articulable suspicion that criminal activity was afoot as

       no details regarding criminal activity were corroborated prior to Defendant’s seizure.

       See id. at 264, 693 S.E.2d at 715 (“Where the detail contained in the tip merely

       concerns identifying characteristics, an officer’s confirmation of these details will not

       legitimize the tip.”).

¶ 13          The State argues the anonymous caller’s use of a phone to make the tip bolsters

       the reliability of the anonymous tip. The State relies on Navarette v. California,

       where the United States Supreme Court found an anonymous caller’s use of the 911

       emergency system was “one of [several] relevant circumstances that, taken together,

       justified the officer’s reliance on the information reported in the 911 call.” Navarette

       v. California, 572 U.S. 393, 401, 188 L. Ed. 2d 680, 689 (2014). Although the United
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       States Supreme Court stated it was not suggesting “tips in 911 calls are per se

       reliable[,]” the Court held “[g]iven the foregoing technological and regulatory

       developments, . . . a reasonable officer could conclude that a false tipster would think

       twice before using such a system.” Id. However, both parties here recognize it is

       unclear whether the anonymous caller contacted 911 or a non-emergency number,

       and there is no finding of fact by the trial court on this issue. Further, there is no

       evidence or finding of fact concerning whether the anonymous caller may have

       preserved her anonymity, such as by using a public phone. Finally, while there were

       other circumstances in Navarette suggesting reliability as to the criminal conduct,

       here there were not. Id. at 400-01, 188 L. Ed. 2d at 688. The reasoning from

       Navarette is inapplicable.

¶ 14         Additionally, the State argues the inclusion of Defendant’s nickname in the

       anonymous tip may show the caller’s familiarity with Defendant.3 The State relies

       on caselaw regarding relevance that held a witness’s testimony regarding a

       defendant’s name that “[a]ll they call them (sic) was ‘Spook[,]’ [t]hat’s all I knowed for

       a long time[]” was not inadmissible evidence of bad character, since the testimony

       “was relevant to show the witness’s acquaintance and familiarity with the



             3 We note that while there was testimony that Defendant’s nickname was in the
       PISTOL database, there was no evidence showing Sergeant Phillips, who stopped and seized
       Defendant, was aware of Defendant’s nickname in the PISTOL database or otherwise.
       Additionally, the Order contains no findings of fact on this issue.
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       defendant.” State v. Barnett, 41 N.C. App. 171, 173-74, 254 S.E.2d 199, 200-01 (1979).

       In the context of the opinion’s full analysis, it is not clear that Barnett was holding

       that the use of a nickname, rather than the use of the nickname in the context of the

       specific witness’s testimony, shows acquaintance and familiarity. Id. However, even

       assuming Barnett did hold this, it was in the context of the relevance of evidence. Id.
       It is well established that the rules regarding relevance are permissive and favor

       admission. See, e.g., State v. Kowalski, 270 N.C. App. 121, 127, 839 S.E.2d 443, 447

       (2020) (emphases added) (citation and marks omitted) (“Relevant evidence is defined

       as evidence having any tendency to make the existence of any fact that is of

       consequence to the determination of the action more probable or less probable than

       it would be without the evidence.       Relevant evidence, as a general matter, is

       considered to be admissible. Any evidence calculated to throw light upon the crime

       charged should be admitted by the trial court.”). Our prior ruling in Barnett regarding

       the use of someone’s nickname being at least minimally relevant is a far different

       context from the use of nicknames in an anonymous tip to provide reasonable

       articulable suspicion. See Alabama v. White, 496 U.S. 325, 329, 110 L. Ed. 2d 301,

       308 (1990) (“[A]n anonymous tip alone seldom demonstrates the informant’s basis of

       knowledge or veracity . . . .”). We decline to blend the two.

¶ 15          Additionally, the State fails to show how the caller knowing Defendant’s

       nickname suggests the caller had any more familiarity with Defendant than she did
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       by virtue of knowing his name, especially in the absence of any evidence indicating

       how common it was for Defendant to be referred to by his nickname. Even assuming,

       arguendo, that Sergeant Phillips had confirmed Defendant’s nickname prior to

       seizing Defendant, there is no reason to conclude Defendant’s nickname should be

       treated any differently than his name. Accordingly, we treat Defendant’s nickname

       as additional identifying information, which does not make the anonymous call more

       “reliable in its assertion of illegality[.]” Hughes, 353 N.C. at 209, 539 S.E.2d at 632.

¶ 16         The anonymous call identifying Defendant and suggesting there was a firearm

       and heroin within his vehicle alone was insufficient to provide Sergeant Phillips with

       reasonable articulable suspicion.

       2. Totality of the Circumstances

¶ 17         However, “[a] court must consider the totality of the circumstances—the whole

       picture in determining whether a reasonable suspicion to make an investigatory stop

       exists.” Watkins, 337 N.C. at 441, 446 S.E.2d at 70 (marks omitted). Here, when

       considering the totality of the circumstances prior to Defendant’s stop, law

       enforcement had reasonable articulable suspicion that criminal activity was afoot.

¶ 18         In State v. Malachi, we held an anonymous tip alone was insufficient to supply

       law enforcement with reasonable articulable suspicion, but ultimately found

       reasonable articulable suspicion after looking at the totality of the circumstances.

       State v. Malachi, 264 N.C. App. 233, 237-39, 825 S.E.2d 666, 669-71, appeal
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       dismissed, 372 N.C. 702, 830 S.E.2d 830 (2019). We based our conclusion regarding

       the existence of reasonable articulable suspicion, in part, on the defendant making

       eye contact with the uniformed police officer, then turning and “blading,” and moving

       away from the officers as they approached. Id. at 239, 825 S.E.2d at 671. As in

       Malachi, here there was reasonable articulable suspicion based on the totality of the

       circumstances.

¶ 19         Similar to the facts of Malachi, Sergeant Phillips’ testimony and the trial

       court’s findings of fact describe the following chain of events: before Defendant

       noticed Sergeant Phillips, Defendant got into the car; as Sergeant Phillips

       approached, but was not yet seen, Defendant exited the vehicle; Sergeant Phillips

       addressed Defendant by name and, upon seeing Sergeant Phillips, Defendant reached

       back into the car, turned it off, and locked it;4 and Defendant then began walking

       away from Sergeant Phillips and reached for his waistband.             Considering prior

       holdings regarding a defendant’s evasive behavior being a factor supporting

       reasonable articulable suspicion, we conclude this evidence supports finding

       reasonable articulable suspicion existed for the stop. See, e.g., State v. Butler, 331




             4 Although the Order does not indicate that Defendant locked the door, the evidence

       at trial unequivocally does. See State v. Johnson, 2021-NCSC-85, ¶ 12 (marks omitted)
       (“[W]hen there is no conflict in the evidence, an appellate court may infer a trial court’s
       findings in support of its decision on a motion to suppress so long as that unconflicted
       evidence was within the trial court’s contemplation.”).
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       N.C. 227, 233, 415 S.E.2d 719, 722 (1992) (finding reasonable articulable suspicion

       existed in part based on evidence that “upon making eye contact with the uniformed

       officers, [the] defendant immediately moved away, behavior that is evidence of

       flight”); Malachi, 264 N.C. App. at 237-39, 825 S.E.2d at 669-71; State v. Garcia, 197

       N.C. App. 522, 529, 677 S.E.2d 555, 559 (2009) (“Factors to determine whether

       reasonable suspicion existed include . . . unprovoked flight.”); State v. Willis, 125 N.C.

       App. 537, 542, 481 S.E.2d 407, 411 (1997) (“[W]hen an individual’s presence at a

       suspected drug area is coupled with evasive actions, police may form, from those

       actions, the quantum of reasonable suspicion necessary to conduct an investigatory

       stop.”).

¶ 20          Defendant cites State v. Fleming to support his argument that we cannot rely

       upon his reaction to the police to support a finding of reasonable articulable suspicion.

       See State v. Fleming, 106 N.C. App. 165, 415 S.E.2d 782 (1992). Fleming involved

       two men standing between two apartment buildings. Id. at 170, 415 S.E.2d at 785.

       The two men saw the officers but initially remained in the area talking, and an officer

       subsequently noticed the men walking out of the open area toward the street and

       down a public sidewalk, where they were stopped. Id. at 170-71, 415 S.E.2d at 785.

       We found no reasonable articulable suspicion existed as there was only “a generalized

       suspicion that the defendant was engaged in criminal activity, based upon the time,

       place, and the officer’s knowledge that [the] defendant was unfamiliar to the area.”
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       Id. at 171, 415 S.E.2d at 785.

¶ 21         Additionally, Defendant cites In re J.L.B.M. to support his contention that “an

       individual’s walking away from officers has been held not to give rise to reasonable

       suspicion absent other evidence that he was engaged in a crime.” See In re J.L.B.M.,

       176 N.C. App. 613, 627 S.E.2d 239 (2006). In re J.L.B.M. involved the stop and frisk

       of a juvenile after a police dispatch regarding a “suspicious person.” Id. at 616, 627

       S.E.2d at 241. We described the additional facts as follows:

                    [The police officer] saw a person in the gas station parking
                    lot, later identified as the juvenile, who fit the description
                    of the person. When the juvenile saw [the police officer],
                    he walked over to a vehicle in the parking lot, spoke to
                    someone, and then began walking away from [the police
                    officer’s] patrol car. [The police officer] pulled up beside the
                    juvenile in an adjoining restaurant parking lot and stopped
                    the juvenile.

       Id. We noted the police dispatch merely stated the juvenile was a “suspicious person”

       but there was no allegation that he was engaged in any criminal activity. Id. at 620,

       627 S.E.2d at 244. “There was no approximate age, height, weight or other physical

       characteristics given as part of the description, nor was there a description of any

       specific clothing worn by the suspicious person.” Id. We found the officer only had a

       “generalized suspicion” and the stop was unjustified since

                    [the police officer] relied solely on the dispatch that there
                    was a suspicious person at the Exxon gas station, that the
                    juvenile matched the “Hispanic male” description of the
                    suspicious person, that the juvenile was wearing baggy
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                    clothes, and that the juvenile chose to walk away from the
                    patrol car. [The police officer] was not aware of any graffiti
                    or property damage before he stopped the juvenile, and he
                    testified that he noticed the bulge in the juvenile’s pocket
                    after he stopped the juvenile.

       Id. at 622, 627 S.E.2d at 245.

¶ 22         At the outset, we note that the circumstances in the cases relied upon by

       Defendant are distinct from the circumstances here in that law enforcement officers

       had received a specified allegation of criminal activity that informed their

       interactions with Defendant. In addition to the anonymous caller’s allegation that

       Defendant was in possession of controlled substances, there was also an allegation

       that he was in possession of a firearm. In conjunction with Defendant’s presence on

       school property and his prior charge of felon in possession of a firearm, if law

       enforcement officers had reasonable articulable suspicion that Defendant was in

       possession of a firearm, then they had reasonable articulable suspicion he was

       violating statutes prohibiting the possession of a firearm on school property and the

       possession of a firearm by a felon. See N.C.G.S. § 14-269.2(b) (2019) (“It shall be a

       Class I felony for any person knowingly to possess or carry, whether openly or

       concealed, any gun, rifle, pistol, or other firearm of any kind on educational property

       or to a curricular or extracurricular activity sponsored by a school.”); N.C.G.S. § 14-

       415.1(a) (2019) (“It shall be unlawful for any person who has been convicted of a felony

       to purchase, own, possess, or have in his custody, care, or control any firearm . . . .
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       Every person violating the provisions of this section shall be punished as a Class G

       felon.”).

¶ 23          Additionally, in terms of evasive action, Defendant’s actions here show a

       stronger indication of an altered course of action than the actions of the defendants

       in Fleming and the juvenile in In re J.L.B.M. since Defendant’s actions here were an

       immediate reaction to seeing Sergeant Phillips. Rather than simply walking away

       from Sergeant Phillips, like the defendants in Fleming and the juvenile in In re

       J.L.B.M., Defendant changed his immediate course of action in response to Sergeant

       Phillips’ presence by turning off the car Defendant had just started, closing and

       locking the car door, and walking away from the car and Sergeant Phillips. We have

       held similar behavior to be evasive action. See Malachi, 264 N.C. App. at 239, 825

       S.E.2d at 671 (emphasis added) (“Given [the] [d]efendant’s ‘blading’ after making eye

       contact with [the arresting officer] in his marked car and uniform, [the] [d]efendant’s

       movements away from [the arresting officer] as he was being approached, [the

       arresting officer’s] training in identifying armed suspects, and [the] [d]efendant’s

       failure to comply with [N.C.G.S. §] 14-415.11(a) when approached by the officers, we

       hold that the officers had reasonable suspicion under the totality of the circumstances

       to conduct an investigatory stop of [the] [d]efendant in response to the tip identifying

       him as possessing a firearm at the gas station.”).

¶ 24          Further, Defendant’s PISTOL database records showed that he had prior drug
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charges and a prior firearm charge. Johnson, a recent case decided by our Supreme

Court, is instructive to the import of this evidence. See generally Johnson, 2021-

NCSC-85. In Johnson,

              the unconflicted evidence introduced by the State at the
              hearing conducted by the trial court on [the] defendant’s
              motion to suppress—that (1) the traffic stop occurred late
              at night (2) in a high-crime area, with (3) [the] defendant
              appearing “very nervous” to the detaining officer to the
              point that it “seemed like his heart was beating out of his
              chest a little bit,” with (4) [the] defendant “blading his
              body” as he accessed the Dodge Charger’s center console,
              and (5) [the] defendant’s criminal record indicating a “trend
              in violent crime” and weapons-related charges—was
              sufficient for the trial court to make findings of fact and
              conclusions of law that the investigating law enforcement
              officer had reasonable suspicion to conduct a Terry search
              of [the] defendant’s person and in areas of [the] defendant’s
              vehicle under [the] defendant’s immediate control for the
              officer’s safety.

Id. at ¶ 15 (emphasis added). Our Supreme Court relied on the officer’s knowledge

of the defendant’s charges based on CJLEADS5 database records, in part, to conclude

the totality of circumstances created a reasonable articulable suspicion that the

defendant was potentially armed and dangerous, justifying the Terry search. Id. at



       5 We note that the CJLEADS database is “a database which details a person’s history

of contacts with law enforcement in the form of a list of criminal charges filed against the
individual[.]” Id. at ¶ 4. Here, at the motion to suppress hearing, testimony described the
PISTOL database as searchable police database that provides a person’s information,
comprised of, in part, their fifteen most recent contacts with law enforcement, including
charges. For the purposes of this appeal, there is no relevant distinction between the use of
the CJLEADS database in Johnson and the use of the PISTOL database here.
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       ¶¶ 4, 15, 18.

¶ 25         Here, like in Johnson, Sergeant Phillips searched Defendant through the

       PISTOL database and discovered that Defendant had a history of drug charges and

       a firearm charge.        Based on Johnson, Defendant’s prior firearm charge is

       appropriately part of the inquiry into whether reasonable articulable suspicion

       existed to stop Defendant. Id.; see also Garcia, 197 N.C. App. at 530-31, 677 S.E.2d

       at 560 (relying in part on PISTOL database records to find reasonable articulable

       suspicion). Here, Defendant’s PISTOL database records support the trial court’s

       conclusion that reasonable articulable suspicion existed at the time of the stop.

¶ 26         Additionally, Defendant reached for his waistband while he was walking away

       from Sergeant Phillips. Finding of Fact 18 states:

                       The black male then began walking away as Sgt. Phillips
                       walked toward him. With his back to Sgt. Phillips, the
                       black male reached for his waistband.

       We have found similar movements to be relevant in finding reasonable articulable

       suspicion existed. See State v. Sutton, 232 N.C. App. 667, 682, 754 S.E.2d 464, 473
       (considering, in part, that the defendant grabbed his waistband to clinch an item,

       which was interpreted as an attempt to conceal something, in concluding reasonable

       articulable suspicion existed), disc. rev. denied, 367 N.C. 507, 759 S.E.2d 91 (2014);

       State v. Hamilton, 125 N.C. App. 396, 401, 481 S.E.2d 98, 101 (finding a pat-down for

       weapons was justified because the defendant’s “hand began to reach toward his left
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       side[,]” which caused the officer to believe the defendant was reaching for a weapon),

       disc. rev. denied and appeal dismissed, 345 N.C. 757, 485 S.E.2d 302 (1997).

¶ 27         Finally, while the anonymous call did not provide reasonable articulable

       suspicion on its own, or as corroborated, it can be appropriately considered within the

       totality of the circumstances. See Malachi, 264 N.C. App. at 239, 825 S.E.2d at 671
       (emphasis added) (“Given [the] [d]efendant’s ‘blading’ after making eye contact with

       [the arresting officer] in his marked car and uniform, [the] [d]efendant’s movements

       away from [the arresting officer] as he was being approached, [the arresting officer’s]

       training in identifying armed suspects, and [the] [d]efendant’s failure to comply with

       [N.C.G.S. §] 14-415.11(a) when approached by the officers, we hold that the officers

       had reasonable suspicion under the totality of the circumstances to conduct an

       investigatory stop of [the] [d]efendant in response to the tip identifying him as

       possessing a firearm at the gas station.”). Defendant contends the anonymous tip did

       not support Defendant having access to a firearm because the firearm was allegedly

       located in the armrest of the car and there was no testimony that Sergeant Phillips

       observed any movements consistent with retrieving the firearm. However, there is

       also evidence that Sergeant Phillips was forty to fifty yards away from the vehicle

       when Defendant first approached the vehicle, a distance where movements inside the

       vehicle could have gone unseen, and Defendant could have retrieved the alleged

       firearm between the time of the tip and when the law enforcement officers arrived.
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       Although the anonymous tip was not corroborated as to the location of the firearm, it

       alleged that Defendant had access to a firearm in his car, which he had exited

       immediately prior to when he was stopped. In light of our caselaw and under these

       facts, it is appropriate to consider the impact of the anonymous call within the totality

       of circumstances to determine if law enforcement had a reasonable articulable

       suspicion that criminal activity was afoot. See id.

¶ 28         Altogether, Defendant’s attempt to avoid Sergeant Phillips, Defendant’s

       PISTOL database records reflecting a prior firearm charge, Defendant’s action of

       reaching toward his waistband, and the anonymous call suggesting that Defendant

       potentially had access to a firearm created a reasonable articulable suspicion that

       Defendant was carrying a firearm. These objective circumstances, in conjunction

       with unchallenged Finding of Fact 2, which states Defendant was found and arrested

       “on school property,” provided Sergeant Phillips with reasonable articulable suspicion

       that Defendant was unlawfully in possession of a firearm on school property. See

       N.C.G.S. § 14-269.2(b) (2019) (“It shall be a Class I felony for any person knowingly

       to possess or carry, whether openly or concealed, any gun, rifle, pistol, or other

       firearm of any kind on educational property or to a curricular or extracurricular

       activity sponsored by a school.”).

¶ 29         Based on the unchallenged findings of fact, the trial court’s conclusion of law

       that Sergeant Phillips had a reasonable articulable suspicion for the stop was proper,
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       as there was reasonable articulable suspicion that Defendant unlawfully possessed a

       firearm on school property.6

                                              CONCLUSION

¶ 30          The trial court did not err in concluding the initial investigatory seizure of

       Defendant was supported by reasonable articulable suspicion based on Defendant’s

       previous criminal charges, an anonymous call suggesting Defendant was armed,

       Defendant’s reaction to Sergeant Phillips’ presence, and Defendant reaching for his



              6 Defendant does not challenge whether there was a proper basis for law enforcement

       officers to search his vehicle after they stopped him outside his vehicle and a frisk of
       Defendant revealed nothing improper on his person; Defendant has only challenged the
       constitutionality of the initial stop on appeal and did not challenge any other issue on appeal.
       See N.C. R. App. P. 28(a) (2021) (“The scope of review on appeal is limited to issues so
       presented in the several briefs. Issues not presented and discussed in a party’s brief are
       deemed abandoned.”); see also State v. Miller, 228 N.C. App. 496, 499 n.1, 746 S.E.2d 421,
       424 n.1 (2013) (“The trial court also denied [the] defendant’s motion to suppress with regard
       to the gun in his car and the marijuana found on the back steps. Specifically, the trial court
       concluded that [the] defendant was not in custody when he voluntarily told the officer about
       the gun in his vehicle. Moreover, the trial court held that the marijuana on the back steps
       was in plain view. On appeal, [the] defendant does not challenge the denial of his motion to
       suppress with regard to these two pieces of evidence. Thus, these issues are deemed
       abandoned on appeal, N.C. R. App. P. 28(b)(6) (2012), and we will not determine whether the
       trial court erred in denying [the] defendant’s motion to suppress with regard to them.”), rev’d
       on other grounds, 367 N.C. 702, 766 S.E.2d 289 (2014).
               Additionally, although Defendant’s motion to suppress contended there was no
       probable cause to search his vehicle, Defendant expressly waived any additional basis to
       challenge the search of his vehicle at the motion to suppress hearing when Defense Counsel
       stated “on the motion, we were limiting it to the seizure, the stop of [] [D]efendant . . . .” This
       renders any other issue, including probable cause for the search of Defendant’s vehicle,
       unpreserved on appeal. See N.C. R. App. P. 10(a)(1) (2021) (“In order to preserve an issue for
       appellate review, a party must have presented to the trial court a timely request, objection,
       or motion, stating the specific grounds for the ruling the party desired the court to make if
       the specific grounds were not apparent from the context. It is also necessary for the
       complaining party to obtain a ruling upon the party’s request, objection, or motion.”).
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waistband, in conjunction with Defendant’s presence on school property. While none

of these circumstances alone would satisfy constitutional requirements, when

considered in their totality, these circumstances provided Sergeant Phillips with

reasonable articulable suspicion to make a lawful stop. The trial court properly

denied Defendant’s motion to suppress.

      NO ERROR.

      Chief Judge STROUD and Judge COLLINS concur.
